ILND 450 (Rev.Case:   1:21-cv-02648
              10/13) Judgment in a Civil ActionDocument #: 161 Filed: 01/30/25 Page 1 of 1 PageID #:2312


                                 IN THE UNITED STATES DISTRICT COURT
                                               FOR THE
                                    NORTHERN DISTRICT OF ILLINOIS

 Jamal Walker,

 Plaintiff(s),
                                                               Case No. 21 C 2648
 v.                                                            Judge Edmond E. Chang

 City of Chicago, et al.,

 Defendant(s).

                                          JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                         which      includes       pre–judgment interest.
                                    does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)

         Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment entered in favor of the Defendants City of Chicago, Matthew Diblich, and
Police Officer Ohle and against the Plaintiff Jamal Walker. Case dismissed with prejudice.

This action was (check one):

      tried by a jury with Judge         presiding, and the jury has rendered a verdict.
      tried by Judge         without a jury and the above decision was reached.
      decided by Judge Edmond E. Chang on a motion for summary judgment.

Date: 1/30/2025                                         Thomas G. Bruton, Clerk of Court

                                                        /s/ Michael Wing, Deputy Clerk
